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Dear Judge Walton,
| would like to address you by this letter to witeness my experience with Mr. Kassim Tajjedine.

My name is Tarek Traboulsi and i am from Lebanon working in the supply of Poultry Equipment
through my company Poultec in Lebanon.

| have met Mr. Kassim 5 years ago when | was introduced to him through a Lebanese Farmer, and he
wanted to have a poultry project in Angola.

| have presented my offer for the first phase and went over all the technical aspects. Mr. Kassim was
not an expert but he collected offers and information from different sources and he negotiated hard
but as a good businessman.

We were able to win the first phase and after a short while we started the next phase to complete
the full project.

Mr. Kassim was very hard working going into details working day and night to build up a successful
project.

He was following the project in all the small details, sending emails starting 6 am and despite his
position and his business he was too down to earth, respectful and visited me in my office few times
knowing that i am so busy to collect information that helps him controling and running the business
in a correct way.

His office was always open for me at any time to discuss and complete the project involving his sons,
guiding them and teaching them on how to make the best decisions.

He was the ideal father/businessman with a very respectful admiring image.

| had the opportunity to travel with him to Europe to visit some production facilties and discuss some
technical details and on that trip | build up some personal relationship with him where he told me his
story starting by working on an old Taxi in Lebanon and then he moved to Africa working in the food
business and how he grow up working hard, how he was lucky in different occasions and he started
to build up his business then moved to Belgium and continued his activities in Africa.

Mr. Kassim was very open, friendly, humble and modest, respecting everyone from a simple working
man to a higher level manager.

He had always this high respect for hard working people and he tried always to give opportunities for
them reminding him of his difficult start and opening the doors of success.

Through this period i have met his family many time in the office and i know how much Mr. Kassim is
a good father and a family man dedicating himself for them to build up their future.

| know the importance of his family for him and how much he would like stay closed to all of them,
his sons, wife and his grandsons too.

He has a good reputation and he always helped people around him and others that he doesnt know
too.
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| have no information about any terrorist or criminal activities that Mr. Kassim is linked too however
knowing how hard he works on his business and how much he like to spend time with his family
makes me doubt he has barely time for other stuff.

Surely you will have more information on his file however i wanted to witness my business and small
personal relation with Mr. Kassim and wanted to point out on the human side of this humble person.

Hoping that God guides you to make the right decision for the best of your country and taking into
consideration the situation of Mr. Kassim, i will be always at your disposition.

Thanking you in advance for your wise decision,

Best Regards

  
